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 1                                   UNITED STATES DISTRICT COURT
 2                                           DISTRICT OF NEVADA
 3                                                       ***
 4   JOSE DECASTRO,                                                  Case No. 2:23-cv-00580-APG-EJY
 5                   Plaintiff,
 6           v.                                                                     ORDER
 7   LAS VEGAS METROPOLITAN POLICE
     DEPARTMENT, et al.,
 8
                     Defendants.
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10           Pending before the Court is Plaintiff’s Motion to Compel Discovery Responses. ECF No.
11   72. The Court has considered Plaintiff’s Motion along with Defendants’ Opposition. ECF No. 73.
12   Because Plaintiff’s Motion is based on Defendants’ alleged failure to provide any response to his
13   Requests for Production (“RFPs”), but the object evidence shows responses were provided on
14   December 18, 2023 (id. at 8-18), the Court issues this Order before receiving Plaintiff’s reply. 1
15           When a party receives requests for production of documents propounded under Federal Rule
16   of Civil Procedure 34 fails to respond to those requests, the propounding party may move for an
17   order compelling production. Fed. R. Civ. P. 37(a)(3)(B)(iv). Under United States District Court
18   for the District of Nevada Local Rule 26-6(b), “[a]ll motions to compel discovery … must set forth
19   in full the text of the discovery originally sought and any response to it.”
20           Defendants unequivocally demonstrate they responded to all of Plaintiff’s RFPs. ECF No.
21   73 at 8-18. Plaintiff fails to acknowledge this fact and instead asserts he received no response from
22   Defendants except repeated reference to Defendants’ initial disclosures. ECF No. 72 at 2-3. In light
23   of the objective evidence demonstrating Defendants responded to Plaintiff’s RFPs, Plaintiff’s
24   argument in favor of compelling responses to his RFPs lacks merit.
25           Moreover, Plaintiff’s general assertion of no responses, rather than identification of those
26   responses by Defendants he disputes as insufficient, fails to satisfy Plaintiff’s Rule 37 burden. Tran
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              The Court notes Defendants also provided Plaintiff a Drop Box link to documents and videos referenced in
28   their Responses on December 21, 2023. Id. at 2, 5.
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 1   v. Young, Case No. 2:17-CV-1260 MCE DB P, 2020 WL 91970, at *2 (E.D. Cal. Jan. 8, 2020) (The

 2   party seeking to compel discovery responses must inform the Court “(1) which discovery requests

 3   are the subject of the motion to compel, (2) which of the responses are disputed, (3) why the party

 4   believes the response is deficient, (4) why any objections are not justified, and (5) why the

 5   information sought through discovery is relevant to the prosecution of this action.”). To the extent

 6   Plaintiff is concerned Defendants are in possession of additional documents responsive to his

 7   requests, Plaintiff must articulate something more than a suspicion to support his concern. Volis v.

 8   Kingsbury Condominiums Owners Assoc., Case No. CV 13-8792 CBM (SS), 2014 WL 12560792,

 9   at *1 (C.D. Cal. July 30, 2014) (“Plaintiff’s mere suspicion that additional documents exist is an

10   insufficient basis to grant a motion to compel. … Rather, the moving party must have a colorable

11   basis for its belief that relevant, responsive documents exist and are being improperly withheld.”).

12          For each and all of the reasons set forth above, IT IS HEREBY ORDERED that Plaintiff’s

13   Motion to Compel Discovery Responses (ECF No. 72) is DENIED.

14          Dated this 28th day of December, 2023.

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                                                  ELAYNA J. YOUCHAH
17                                                UNITED STATES MAGISTRATE JUDGE
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